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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION



UNITED STATES OF AMERICA

V.                                             CR118-052

CHRISTOPHER PATE




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      TRAVERS W. CHANCE having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Travers W. Chance be granted leave of

absence for the following periods: December 17, 2018 through December 23,

2018; and March 20,2019 through March 25,2019.

      This            of November,2018.




                                                 HALL,QHIEF JUDGE
                                        UNITED'STATES DISTRICT COURT
                                                      DISTRICT OF GEORGIA
